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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
                                     _
                                       )
U.S. SECURITIES AND EXCHANGE           )
COMMISSION,                            )
                                       )
                      Plaintiff,       )     Civil Action No.
                                       )
                 v.                    )     18-CV-5587
                                       )
EQUITYBUILD, INC., EQUITYBUILD         )
FINANCE LLC, JEROME D. COHEN, and      )
SHAUN H. COHEN,                        )
                                       )
                      Defendants.      )
                                       )

     PLAINTIFF’S EMERGENCY MOTION FOR A TEMPORARY RESTRAINING
    ORDER TO PREVENT VIOLATIONS OF THE FEDERAL SECURITIES LAWS,
   TO APPOINT A RECEIVER, AND PROVIDE FOR OTHER ANCILLARY RELIEF

       Plaintiff U.S. Securities and Exchange Commission (“SEC”), pursuant to F.R.C.P. 65,

hereby moves, on an emergency basis, for a Temporary Restraining Order to Prevent Violations

of the Federal Securities Laws, to Appoint a Receiver, and to Provide for Other Ancillary Relief.

Supporting its motion, the SEC is filing a Memorandum of Law and the declaration of SEC

accountant Ann Tushaus and accompanying exhibits (including investor declarations).

       As set forth in the supporting Memorandum, the SEC seeks a TRO to halt an ongoing

Ponzi scheme and offering fraud, involving Chicago real estate, that has raised more than $135

million from more than 900 investors. The Defendants raised these funds by falsely promising

investors safe investments, secured by income-producing real estate, that generated returns of 12%

to 20%. Defendants’ scheme is on the verge of collapse, yet they continue to solicit funds from

unwitting investors. Despite recently informing prior investors that their investments are
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unprofitable and that Defendants can no longer afford to repay them, Defendants continue to lure

new investors with promises of “guaranteed” returns and interest payments as high as 17%.

       In addition to requesting a TRO to stop Defendants’ fraud, the SEC also seeks the

appointment of a receiver to remove Defendants’ control over investor funds, to secure the real

estate and other assets obtained with investor proceeds, and to ultimately recompense the

defrauded investors. Should the Court decline to appoint a receiver, the SEC requests that the

Court freeze Defendants’ assets.

       WHEREFORE, the SEC respectfully moves the Court to grant the relief as set forth more

fully in the SEC’s Memorandum and proposed Orders, including: issue a temporary restraining

order and conduct-based injunction, appoint a receiver (or, in the alternative, freeze Defendants’

assets), order an accounting, direct the preservation of documents and allow expedited discovery,

and grant such other ancillary relief as the Court deems just and proper.



                                                     Respectfully Submitted,

Dated: August 15, 2018                                /s/ Benjamin J. Hanauer      _
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